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' Case 2:90-cv-00520-KJM-SCR Document 2116

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| SAN QUENTIN

Prison
inmate

| himself

Three’ days after receiving psy-
chiatric care, a 46-year-old death

cell‘at San Quentin State Prison, a”
spokesman said Friday, .
James “avid ” Tulk, - wha was

sentenced to. death for the 1990
| rape and: murder | of a Redding

woman, was found about 11:25
p.m. Thursday . hanging ‘from’ a
bed sheet tied to his ‘upper bunk,

said 1 Lt. Erie Messitk. .

“Event thétgh they live alone,

‘| many death tow inmates have
.| ‘double bunks atid usually use the
‘top one as a slielf, Messick said.

“This is a very. determined per
adn,” “Messick, said, describing
how. ait inmiate would need to be,

‘|. i a near-kneéling position to as.

phyxlate. “You'd have to fight
away your survival instinct,”
Tulk was: hospitalized ‘briefly -

| on Monday for “paychiatric obser- -
‘|-vation,” Messick ‘said: Tulk was.
| not on dulcide watch atid ‘it was:
| attknown whether he had.been in.’
'| the past, An irivestigation wag un-

der way, Messick said.
Tulk giso was receiving the

prison’s lowest level of treatment

for some typé of mental illness,

‘| Messick said, refusing to elabo-
rate. He said about 10 percent of
‘| all San Quentin inmates partici-

pate ih some ‘typé of psychiatric

treatment, ,
. ‘Tulle was fine when his cell was
'ehecked at 10 p.m. Messick By

Officers do hourly: ‘chacks on the

prison’ ¥: 619 déath row inmates. ,
‘The last confirmed suicide on

death row took place:in 1997, ace

“cording “to ‘the | Depattment of
“Corrections and Rehabilitation. -

| ~- Askociated Presa.

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row inmate hanged. himself in his © ~

Filed 01/18/07

Page 3 of 5
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Jacek Leaviit

Attorney at Law La\Q Mercaca ST,

Hayward, CA 94541 q N19
Tel.: 510-581-9127 "|
FAN: 510-581-9127 ae
September 13, 2004 mine ~ b
5\0- 534-5963

Jeanne 8. Woodford

Director

California Department of Corrections
P.O. Box 942883

Sacramento, CA 94283 - 0001

Re: Gerald F. Stanley, C80900 -4==- F-&-7
Dear Director Woodford:

As the retained attorney for Gerald Stanley. | would appreciate it if you would
investigate the present conditions under which he is confined on San Quentin's Death
Rew. You might be aware of Mr. Stanley's condition based on your previous work as
the prison's Warden, but the pressures on him apparently have increased dramatically
intecent months. The difficulties he is facing are based on his willingness to cooperate
with Tehama County authorities, but not prison officials, in discussing the location of a

| ictim’s body. On advice Of counsel, he is trying his best to cooperate while at
the same time protecting himself from unwarranted difficulties. Whatever help you can
provide would be appreciated.

Many thanks for your cooperation.

sincerely,

Jack Leavitt
CSB 31960

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Szate'of Califatei@Se 2:90-cv-00520-KJM-SCR Document r116 > FSS: 48/0 DepadtaGCobcOhr Bion
Memorandum MIGLSE .EGEL CESUAYEO Lk “The

From,

Subject :

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ee uae Lagk Week IN cay ae

Cou Gro Ve Bu Wwerd Gs

February 4, 2902
Cu S'S,

: ALL EAST BLOCK INMATES L Sy LT Cole mon:

; Department of Corrections, California Stats Prison, San Quentin CA 94964

UNIT NOISE LEVEL

All laud talking, singing, yelling, music, telayisions, etc. from cells ar holding cages Wil not be tolerated
from any inmate,fhoused in East Block. In consideration of those inmates trying to sléen, the hours of
10:30 PM through §:00 AM will be observed as “quiet hours" in the unit. This includes “Bayside” and
“Yardside" inmates. Please note that the “quiet hours” have changed to accommodate recent changes
in feeding times for the moming meal.

The noise fevel in the unit at times has exceeded reasonable proportions in the past and will net be
allowed to continue. Any inmate deemed to be escessively loud by staff will be subject to disciplinary

action,

re

East Block staff are instructed to moniter the noise level of the unit and take corrective action when
necessary and whenever possible.

A. Peraz M. Chacon M. Cremer

Program Lieutenant Program Lieutenant Waich Commander
Second Waich, East Block Third Waten, Fast Block First Watch
J, Van Blarcorn J. Holzman .
Program Sergeant Program Sergeent
Second Waten, East Black First Watch, East Block COPY

